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                  IN THE UNITED STATES DISTRICT COURT
           WESTERN DISCTRICT OF WASHINGTON– SEATTLE DIVISION


IN RE STEFANIA RAMOS BIRCH SUBPOENA
______________________________________

LOZANO ET AL,
                                                     Civil Misc. Action No. 2:22-cv-01477

       Plaintiffs/Respondents                        Judge James L. Robart

v.

DOES I-X, ET AL,

       Defendants.


                                  NOTICE TO THE COURT

       Now come Respondents Alexandra Lozano, Angelyne Lisinski, and Giulia Fantacci, and

hereby provide Notice to the Court regarding a clarification issued by the Southern District of

Ohio regarding the subpoena Respondents issued to Petitioner Stefania Ramos Birch. In

compliance with the Southern District of Ohio’s clarification, Respondents hereby respectfully

amend their opposition to the Motion to Quash (Doc. 6). Respondents agree to withdraw their

request for documents from Ms. Birch. However, Respondents request that the Court deny

the remainder of Ms. Birch’s Motion to Quash and require Ms. Birch sit for her deposition

at the end of her maternity leave, for the reasons stated in Respondents’ Memorandum in

Opposition to the Motion to Quash.

Date: October 24, 2022                            Respectfully submitted,

                                                     /s/ Kirsten R. Fraser
                                                  Isaac Castaneda
                                                          LEAD ATTORNEY
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                               CERTIFICATE OF SERVICE

       The undersigned hereby certifies that on October 24, 2022, the foregoing was

electronically filed with the Clerk of Court using the CM/ECF system and was served on all

counsel of record.




                                                    /s/ Kirsten R. Fraser
                                                   Attorney for Respondents




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